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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF LOUISIANA
                                    SHREVEPORT DIVISION
                 405 ARAPAHOE L L C                     NO. 5:19−CV−00486−SMH−MLH

                         VERSUS                         CHIEF JUDGE S MAURICE HICKS, JR

        MONTEREY RESOURCES L L C , et al.               MAGISTRATE JUDGE MARK L HORNSBY



                NOTICE OF CORPORATE DISCLOSURE STATEMENT REQUIREMENT

   NOTICE TO FILER:

       The Notice of Removal − #1 filed by Green Wheel L L C, Monterey Resources L L C, was the first
   appearance by this party. According to Fed.R.Civ.P. 7.1, "the first appearance of a non−governmental
   corporate party requires a corporate disclosure statement." Additionally, the rule requires that a corporate
   party "promptly" supplement the statement upon any change in the information that the party previously
   provided to the court.

       In accordance with this rule, the United States District Court, Western District of Louisiana requires that a
   corporate party who makes a first appearance in a case must file a corporate disclosure statement either
   identifying any parent corporation or corporation holding 10% or more of its stock holdings or file a statement
   stating there is no such parent corporation or other corporation holding stock in the corporation. For pending
   cases in which a corporate disclosure statement has not previously been filed by any non−governmental
   corporate party, the court also requires such a statement be filed as soon as possible.

       A corporate disclosure statement must be electronically filed by 5/1/2019 or the matter will be
   referred to the court for further action to enforce compliance. If you feel this notice has been issued in
   error or the filer is not a non−governmental corporate party, please submit a document declaring same.

      For questions regarding this document or transmission, please call our CM/ECF help desk at
   1−866−323−1101.

      THUS DONE April 17, 2019.



                                                               TONY R. MOORE
                                                               CLERK OF COURT
